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                                    UNITED STATES DISTRICT COURT
 9
                                            DISTRICT OF NEVADA
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     ME2 PRODUCTIONS, INC.,                    )
11                                             )                  Case No. 2:17-cv-00723-JCM-NJK
                             Plaintiff(s),     )
12                                             )                  ORDER
     vs.                                       )
13                                             )
     JOHN AND JANE DOES,                       )
14                                             )
                             Defendant(s).     )
15   __________________________________________)
16          On April 27, 2017, the Court issued an order for Plaintiff to show cause why, inter alia, the
17   subpoenas issued in this case should not be quashed. On May 8, 2017, the Court granted Plaintiff’s request
18   to extend the deadline to respond. The Court hereby ORDERS the recipients of the subpoenas not to
19   provide the subpoenaed information pending resolution of the order to show cause. Cf. Malibu Media, LLC
20   v. Doe, 2016 WL 3383830, at *4 (N.D. Cal. June 20, 2016) (staying compliance with subpoena pending
21   resolution of motion to quash). Plaintiff is further ORDERED to immediately serve a copy of this order
22   on the recipients of the subpoenas, and to file a proof of service so indicating by noon on May 12, 2017.
23          IT IS SO ORDERED
24          Dated: May 10, 2017
25                                                ________________________________________
                                                  NANCY J. KOPPE
26                                                United States Magistrate Judge
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